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8
                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                        CR 18-290 WHA
12
                             PLAINTIFF,               DEFENDANT’S SENTENCING MEMORANDUM
13                   V.

14
     ERIC JIMENEZ,                                    HONORABLE WILLIAM ALSUP
15                                                    DATE: OCT. 22, 2019
16                           DEFENDANT.               TIME: 2:00 P.M.

17

18         1. INTRODUCTION

19           Eric Jimenez has pled guilty to six counts of the indictment, accepting responsibility for

20   multiple narcotic and firearm offenses. Mr. Jimenez has entered into a plea agreement with the

21   government pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C). That agreement calls

22   for a sentence of 188 months, five years of supervised release, $600 in special assessments, and

23   forfeiture. Mr. Jimenez joins the government and probation in requesting that the Court impose

24   the agreed-upon sentence. All parties, as well as probation, agree that a sentence of 188 months

25   in prison will be sufficient, but not greater than necessary, to satisfy the statutory goals of

26   sentencing in this case.

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1       2. BACKGROUND
2           Eric Jimenez grew up in Redwood City with his mother, step-father, and siblings. He
3    started smoking marijuana at an early age and eventually dropped out of high school because of
4    his substance abuse issues. In 2003, Mr. Jiminez was sentenced to four years in state prison for
5    vehicular manslaughter while intoxicated. This is his only prior criminal conviction. He served
6    approximately two years and four months of that sentence. PSR ¶¶ 53, 60-62, 69-71.
7           When he left prison, Mr. Jiminez began using cocaine and methamphetamine, then
8    selling it. He used drugs on a daily basis until he was arrested for this case. Since he has been on
9    pretrial supervision, however, Mr. Jimenez has taken advantage of the services offered to him by
10   pre-trial services and has maintained sobriety. During his ten months of pretrial supervision, Mr.
11   Jimenez obtained employment, refrained from using drugs, and complied with all of the
12   conditions of his release. His family and significant other are very supportive of him and have
13   attended all of his court hearings. PSR ¶ 4, 69, 75, 101.
14      3. DISCUSSION
15          The proposed sentence of 188 months’ imprisonment is reasonable. In determining an
16   appropriate sentence, the court must look to the factors set forth in 18 U.S.C. § 3553, among
17   them the applicable Sentencing Guideline calculation. United States v. Booker, 543 U.S. 220, 245-
18   46 (2005); United States v. Autery, 555 F.3d 864, 872 (9th Cir. 2009); United States v. Carty, 520
19   F.3d 984, 991 (9th Cir. 2008). While the Court must remain mindful of the Sentencing Guideline
20   recommendation, that is only one of the applicable factors; the Guideline range is not
21   presumptively reasonable and it cannot be given any more or less weight than any other factor
22   listed in section 3553(a). Autery, 555 F.3d at 872; Carty, 520 F.3d at 988, 991. The Court’s
23   paramount concern must be to impose a sentence “sufficient, but not greater than necessary” to
24   “reflect the seriousness of the offense, promote respect for the law, and provide just punishment;
25   to afford adequate deterrence; to protect the public; and to provide the defendant with needed
26   educational or vocational training, medical care, or other correctional treatment.” Carty, 520
27   F.3d at 991. In this case, a sentence of 188 months’ imprisonment is more than sufficient to
28   achieve the goals of sentencing.
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1           Mr. Jimenez has only sustained one prior criminal conviction. Despte his struggles with
2    drug and alcohol addiction, he has been able to maintain long periods of employment. He has the
3    support of a very close family, who are prepared to assist him with reintegrating into society after
4    the lengthy sentence he faces. A consideration of Mr. Jimenez’s “history and characteristics” thus
5    supports the requested sentence. See 18 U.S.C. § 3553(a)(1). The nature and circumstances of the
6    offense would also be adequately accounted for by a sentence of 188 months. See id. Mr. Jimenez
7    accepted responsibility for his conduct and has complied with all of the conditions of his pre-trial
8    release, including testing clean and attending drug counseling.
9           A sentence of 188 months would also address the concerns articulated in 18 U.S.C. §
10   3553(a)(2)(A), which requires the Court to consider the need for the sentence imposed “to reflect
11   the seriousness of the offense, to promote respect for the law, and to provide just punishment for
12   the offense,” as well as to “afford adequate deterrence to criminal conduct” and “protect the
13   public from further crimes of the defendant.” The proposed 15 year sentence is more than three
14   times longer than Mr. Jimenez’s longest (and only) prior sentence of four years. Moreover, his
15   performance on pre-trial supervision, especially addressing the addiction issues that led to his
16   involvement in drug dealing, also serves to mitigate his conduct. A defendant’s post-offense
17   efforts at rehabilitation may bear on the Court’s determination, pursuant to 18 U.S.C. §
18   3553(a)(2)(B) and (C), as evidence that incarceration is not necessary to deter his future criminal
19   conduct or to protect the public from him. See Pepper v. United States, 562 U.S. 476, 491 (2011);
20   Gall v. United States, 552 U.S. 38, 59 (2007).
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1       4. CONCLUSION
2           For the foregoing reasons, Mr. Jimenez joins the government and probation in requesting
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     that the Court impose the agreed-upon sentence of 188 months in custody, to be followed by five
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     years of supervised release.
5
     Dated: October 15, 2019                                Respectfully submitted,
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                                                            STEVEN G. KALAR
7
                                                            Federal Public Defender
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                                                                 /S/
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                                                            ELLEN V. LEONIDA
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